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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                    (Eastern Division)

In re:
                                                    Chapter 13
Thomas Sheedy,
                                                    Case No. 18-11859 -FJB
       Debtor.


               DEBTOR’S MOTION TO RELEASE SHOW CAUSE ORDER

       Thomas Sheedy, the above-referenced debtor (the “Debtor”), respectfully moves the

Court, to enter an order releasing its Show Cause Order dated July 6, 2018. In support hereof, the

Debtor has filed the certificate as required.

       WHEREFORE, the Debtor respectfully requests entry of an Order releasing the Show

Cause Order and granting such other and further relief as is just and proper.


                                                Thomas Sheedy
                                                By his attorney,

                                                /s/ Mark C. Rossi

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